 

Case 5:19-mj-00532 Document 1 Filed on 04/29/19 in TXSD Page 1 of 2

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AO 91 (Rev. ll/l l) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

Southern District of Texas

 

 

 

United States of America )
v. )
Hector PENA-GARC|A § Case N°' 5519'm]'532
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of AuguSt 23, 2018 in the county of Webb in the
Southern District of Texas , the defendant(s) violated:
Code Section Oj’ense Descrz'ption >
18 USC 922(9)(5)(B) Possession of a firearm and ammunition by an alien has been admitted into

the United States under a nonimmigrant visa

This criminal complaint is based on these facts:

See Attachment A

d Continued on the attached sheet.

/S/ i\/iario Duty

Complainant 's signature

|\/|ario Duty, ATF Specia| Agent

Printed name and title

Swom to before me and signed in my presence.

Date¢ 04/29/2019 M /72/ /§f\
' l y Jua'ge's'signa;ure
City and State; Laredol Texas J A. Kazen,' United Stat agistrate Judge

Printed name aV title

 

 

Case 5:19-mj-00532 Document 1 Filed on 04/29/19 in TXSD Page 2 of 2

5:19_mj-532

ATTACHMENT A

On August 23, 2018, an investigation being conducted by the Bureau of Alcohol,
Tobacco, Firearms and Explosives (ATF) concluded that Hector PENA-GARCIA, an
alien admitted into the United States under a non-immigrant visa, was in possession of
firearms. Af`ter consultation with other federal agencies and contacts, ATF determined
that PENA-GARCIA had, in fact, been admitted into the United States under a non-
immigrant visa, barring him from possession of firearms and ammunition.

Agents with ATF, along with agents and task force officers assigned to the Drug

Enforcement Agency (DEA) interviewed PENA-GARCIA. who stated that he had four
firearms in his possession.

Later on August 23, 2018, agents went to the residence of PENA-GARCIA located at the
7700 block of Springfield Ave, Laredo, TX, were PENA-GARCIA forfeited one (l)
Arsenal Firearms, model Strike One, 9 millimeter pistol bearing serial number AF1230A;

one (l) Walther, model PPQ, .22 caliber pistol bearing the serial number PP016463; and
514 rounds of live ammunition in assorted calibers.

ATF and DEA agents and task force officers traveled to the 200 block of Aquero Blvd.,
Laredo, TX, where PENA-GARCIA’s girlfriend resided. DEA task force officers
accompanied PENA-GARCIA inside the location of and retrieved one (l) Smith &
Wesson, model M&P 15, .22 LR caliber rifle bearing the Serial number DZT6322.

Also, ATF and DEA agents and task force officers traveled to a location on the 3300
block of Santa Maria Ave., Laredo, TX, where PENA-GARCIA stated the below firearm
was being cleaned for him. DEA task force officers accompanied PENA-GARCIA inside
the location of and retrieved one (l) CZ, model Scorpion Evo 31, 9 millimeter rifle
bearing the serial number Cl 16516.

All firearms and ammunition were forfeited by PENA-GARCIA and taken into ATF
custody. The firearms were manufactured outside the state of Texas and transported in
interstate or foreign commerce.

